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 8
 9
                                         UNITED STATES DISTRICT COURT
10
                                     EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                           Case No. 5:24-po-00329-CDB
13                          Plaintiff,                   [Citation #E1018229 CA/14]
14   v.
15   MICHAEL T. RODRIGUES,                               MOTION AND [PROPOSED] ORDER TO
                                                         AMEND CITATION
16                          Defendant.
17

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19          The United States of America, by and through Michele Beckwith, Acting United States Attorney,

20 and Jeffrey A. Spivak, Assistant United States Attorney, hereby moves to amend Case No. 5:24-po-

21 00329-CDB [Citation #E1018229 CA/14], against MICHAEL T. RODRIGUES, to reflect a violation of

22 California Vehicle Code Section 22349(b) for traveling 70 miles per hour on August 2, 2024, in the

23 State and Eastern District of California, and that the total collateral due is $230.00.

24 DATED: March 6, 2025                                    Respectfully submitted,
25                                                         MICHELE BECKWITH
                                                           Acting United States Attorney
26
                                                   By:     /s/ Arin C. Heinz
27                                                         ARIN C. HEINZ
                                                           Assistant United States Attorney
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                                                          1                                 U.S. v. Rodrigues
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                                                                                Case No. 5:24-po-00329-CDB
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 1                                                  ORDER

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 3          IT IS HEREBY ORDERED that Case No. 5:24-po-00329-CDB [Citation #E1018229 CA/14],

 4 against MICHAEL T. RODRIGUES, is amended to reflect a violation of California Vehicle Code

 5 Section 22349(b) for traveling 70 miles per hour on August 2, 2024, in the State and Eastern District of

 6 California, and that the total collateral due is $230.00.

 7 IT IS SO ORDERED.

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        Dated:     March 6, 2025                               ___________________                _
 9                                                     UNITED STATES MAGISTRATE JUDGE

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                                                         2                                  U.S. v. Rodrigues
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                                                                                Case No. 5:24-po-00329-CDB
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